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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA
ANDREW J. REVILLA,                             )
                                               )
      Petitioner,                              )
                                               )
      v.                                       )      Case No. CIV-22-658-SLP
                                               )
RICK WHITTEN,                                  )
                                               )
      Respondent.                              )


                                       ORDER
      Upon consideration, the court grants Respondent’s Motion for Extension of Time.

(Doc. 8). Respondent’s pleading responsive to Petitioner’s petition for a writ of habeas

corpus is due on or before Tuesday, October 11, 2022.

      ENTERED this 13th day of September, 2022.
